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                                                      pA7R\Cy, E. L u I - F ' ~
                    IN THE UNITED STATES DISTRICT COURT             -_-------
                        FOR THE DISTRICT OF MONTANA     p E p G i ~LL;,IK
                                                             --*.-*

                             MISSOULA DIVISION
                                                   --




UNITED STATES OF AMERICA,
                                                   CAUSE NO. CR 07-1-M-DWM
                          Plaintiff,

           VS   .
                                                   FINDINGS & RECOMMENDATION
                                                   OF UNITED STATES
                                                   MAGISTRATE JUDGE
DUSTIN AVERY SPANGLE,

                         Defendant.

     The Defendant, by consent, has appeared before me under Fed.

R. Crim. P. 11 and has entered a plea of guilty to the charge of

conspiracy, in violation of 18 U.S.C.          §   371, as set forth in the
Indictment.

     After examining the Defendant under oath, the Court
determined that the guilty plea was knowingly, intelligently, and

voluntarily entered; that the Defendant fully understands his

constitutional rights and the extent to which such rights are
waived; and that the offense charged and to which a guilty plea
was entered contained each of the essential elements of the
offense.

     The Court further concludes that the Defendant had adequate

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time to review the Plea Agreement with counsel, that he fully
understands each and every provision of the agreement and that
all of the statements in the Plea Agreement are true.             I
recommend that the Defendant be adjudged guilty and that sentence
be imposed.'     A presentence report has been ordered.

     This report is forwarded with the recommendation that the

Court defer a decision reaardina acceptance until the Court has

reviewed the Plea Aareement and the presentence report.

             DATED this 2*d     day of May, 2007.




       Objections to these Findings and Recommendation are waived
unless filed and served within ten (10) days.        28 U.S.C. §
636 (b)(1)(B); Fed. R. Crim. P. 59(b) (2)      .
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